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 7                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF WASHINGTON
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10   In re:                                                   Case No. 24-01421-FPC11
11   IDEAL PROPERTY INVESTMENTS, LLC,                         DECLARATION OF PAUL BARRERA
12                                                            IN SUPPORT OF JAMES GROUP’S
     Debtor.                                                  MOTION FOR RELIEF FROM STAY
13
14
15       I, Paul Barrera, do hereby swear and affirm as follows:
16       1.    I am an attorney for Plaintiff James Group International LLC (“James Group”). I am
17   of legal age and competent to testify to the matters contained herein.
18       2.    Attached hereto as Exhibit A is a copy of the contract between James Group and
19   Water Station Management, LLC, along with machine serial numbers provided to James Group
20   by Ryan Wear.
21       3.    Attached hereto as Exhibit B is a copy of the Declaration of Nick Howe, Data
22   Analytics Lead for Turning Point Strategic Advisors (the “Receiver”), the general receiver over
23   Creative Technologies, L.L.C., Refreshing USA LLC, and Water Station Management LLC,
24   filed in the United States Bankruptcy Court for the Southern District of Texas, In re Refreshing
25   USA, LLC, Case No. 24-33919. Exhibits A and C have been removed in the interests of brevity.
26   Complete copies are available upon request.
27       4.    Attached hereto as Exhibit C is a copy of the Declaration of Eric Camm, Principal and
28   Director of Receiver, filed in the United States Bankruptcy Court for the Southern District of


      APPLICATION FOR RELIEF FROM STAY                                    NORTH CITY LAW, PC
                                                                   17713 Fifteenth Avenue NE, Suite 101
                                                                        Shoreline, WA 98155-3839
                                                                           Phone: 206.413.7288
      24-01421-FPC11 (6)                                                    Fax: 206.367.0120




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 1   Texas, In re Refreshing USA, LLC, Case No. 24-33919. The Exhibits have been removed in the
 2   interests of brevity. Complete copies are available upon request.
 3              EXECUTED this Friday, October 18, 2024, in Shoreline, Washington.
 4
 5              I, the undersigned, declare under penalty of perjury under the laws of the United States
 6   that the foregoing is true and correct.
 7
 8                                             /s/ Paul Barrera
                                               Paul A. Barrera
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 1
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                                     EXHIBIT A
                             DECLARATION OF PAUL BARRERA
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                                                          17713 Fifteenth Avenue NE, Suite 101
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       WATER STATION MANAGEMENT, LLC SERVICE AND MANAGEMENT
                           AGREEMENT

           This Service and Management Agreement (the "Agreement") is effective as of
    ,., •"   I 2,"'            , ;!41-8-20 L~Lby and between Water Station Management,
    LLC, a Washington limited liability company ("WSM"" l?.@jtractor''), and .lames
    GrQJJnJ!ltl,LLC                                  , a(n)         t!9A:    LL       L
    ("Ov.-ner'').

                                           RECITALS

            A.      WSM is a Washington limited liability company generally engaged in the
    business of: (I) servicing, maintaining and repairing water vending machines; (2)
    locating and relocating such machines for commercial vending purposes; and (3)
    managing the operation and collection of profits from such machines.

           B.     O""-ner ov,ms certain vending machines more particularly described in
    Exhibit A hereto (the "Vending Machines").

            C.      The Parties desire to enter into an Agreement under which WSM provides
    certain management and other services with respect to the Vending Machines, subject to
    the term.~ and conditions set forth herein.

                                         AGREEMENT

            In consideration of the mutual promises contained herein, the Parties hereby agree
    as follows:

         I.      Scope of Services.    Subject to the terms and conditions set forth herein,
    WSM agrees to provide the following services to Owner:

                   a.     Definitions. For purposes of this Agreement, "Location(s)" shall
    mean any location, address and/or place of business where WSM, whether currently. in
    the past and/or during the term of this Agreement, whether directly, indirectly and/or on
    behalf of any vending machine owner: (I) contracts or has contracted for the placement,
    use and/or operation of Vending Machines, including, but not limited to, any lease
    agreement; (2) has established, solicited or procured any business relationship relating to
    the placement, use and/or operation of Vending Machines, including, but not limited to,
    engaging in negotiations or targeted marketing or solicitation efforts towards the owner
    of said Location; and/or (3) is contained on the list of locations maintained by WSM in
    the ordinary course ofits business.

           For purposes of this Agreement, "Location Owners" shall mean: (I) any owner of
    a Location, as defined herein, and/or its heirs, spouses, assigns, parents. subsidiaries,
    shareholders, officers, directors, partners. and/or members; (2) any person or entity
    contained on the list of Location Owners maintained by WSM in the ordinary course of




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    its business; and/or (3) any owner of a Location that was discovered, came to the
    attention of Owner and/or entered into a business or contractual relationship with Owner
    based on the direct or indirect efforts of WSM during the term of this Agreement,
    including, but not limited to, marketing, advertising, solicitation, negotiation, and/or
    execution of contract work performed by WSM.

                  b.       Location/Relocation of Vending Machines/Leases/Services. WSM
    will use its best efforts to locate, negotiate and secure leases for the operation of the
    Vending Machines at specific Locations within its existing and future network of
    Location Owners, along with the other services provided in this Paragraph I (b).

         More particularly, during the term of this Agreement, WSM will take
    commercially reasonable steps to:

                  (I)     Find suitable Locations for the Vending Machines and Location
                          Owners with which to contract for the placement. use and
                          operation of those Machines;

                  (2)     Negotiate, execute and maintain lease agreements and related
                          contracts under and through which the Ow11er receives payment
                          and a stream of revenue for the use of those Machines, including.
                          but not limited to, providing for the following:

                          (a)     Collection of cash from the Vending Machines by third-
                                  party local service agents contracted with or hired by WSM
                                  based on payment of a percentage of such collectables back
                                  to those third-party agents (such agents may he owned by
                                  or affiliated with WSM);

                           (b)    Negotiation, execution and servicing of service agreements
                                  for credit card or electronic payment sales with third-party
                                  credit card companies under contract with WSM: and

                           (c)    Negotiation, execution and servicing of agreements to
                                  receive advertising revenue gained from advertisements
                                  contained on the LCD or other screens of the Vending
                                  Machines, and collection of related revenues from
                                  advertisers by WSM.

                   (3)     Transport the Vending Machines to and from the Locations;

                   (4)     Service, maintain and repair the Vending Machines as
                           reasonably necessary in WSM' s discretion:

                  {5)      Manage the operations of those Machines;




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                   (6)      Relocate the Machines to new replacement Locations in the
                            event a lease is cancelled or terminated during the term of this
                            Agreement;

                   (7)      Maintain all licensing and registrations reasonable and
                            necessary for the use and operation of Vending Machines as
                            described herein;

                   (8)      Hire any employees. independent contractor, third party
                            contractors, materialmen, suppliers, and vendors reasonable and
                            necessary, in WSM's discretion, to carry out the services described
                            herein, including, but not limited to, technicians, repair and/or
                            maintenance contractors and suppliers;

                   (9)      Maintain all books and records, including, but not limited to,
                            any software records and leases and all agreements including
                            vendor and sub-agreements relating to the Vending Machines:
                            and

                   ( I 0)   Collect payments from the Location Owners for use of the
                            Machines under the leases.

                   (Collectively, the above services shall be referred to herein as the
    "Services").

            WSM will receive a commission/payment for the above Services. all as more
    particularly set forth below.

                  c.       Management and Authority.          Owner hereby grants to
    WSM full authority to make all day-to-day decisions and take all actions not specifically
    reserved by Owner under this Agreement with respect to the placement, use and
    management of the Vending Machines, including, but not limited to, all actions described
    under Paragraph I (b) above.

                  d.    Major Decisions.           The following decisions require written
    mutual approval by Owner and WSM:

                            (I)     Incurring of any shared operating expense in excess of
                                            $_ _ _ _ _($2,000.00 if left blank) .

                            (2)     Any decision to sell. replace or encumber a Vending
                                         Machine.

                            (3)     Any decision to renew a lease or other agreement for the
                                          placement and use of a Vending Machine that




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                                           extends longer that the current Tenn of this
                                           Agreement.

                            (4)    Any decision to tenninate an existing lease or other
                                        agreement for the placement and use of a Vending
                                        Machine before the term of that lease or other
                                        agreement expires.

                            (5)    Any decision to decommission any Vending Machine;
                                        and/or

                            (6)    Any decision to enter into a new lease or other agreement
                                         for the placement and use of a Vending Machine if
                                         that lease or other agreement pays a fixed monthly
                                         payment that is less than the fixed payment or
                                         average monthly payment over the preceding I2
                                         month period under the existing such lease or other
                                         agreement.

                     e.     No Warranty. (See Addendum)           WSM            makes        no
            representation, guarantee or
    warranty to secure any specific lease, location or number of leases or locations, nor to
    generate any specific amount of revenue from such leases or locations. WSM shall have
    no liability for any such failure to secure any specific lease, location or number of leases
    or locations, nor for any failure to generate any specific amount of revenue therefrom.

            2.       Tum!, This Agreement shall be effective as of the date of mutual
    execution        and     shall     remain     in     effect     for    a     period of
    --:-:-----,---------years (seven years if left blank) unless terminated
    earlier as set forth below (the "Term,tt as may be extended as provided herein).

            This Agreement shall automatically renew for additional period(s) of _ _ __
    year(s) (three years if left blank) after the expiration of the above term unless terminated
    on at least _ _ days (sixty days ifleft blank) notice as set forth below.

           3,     Commission/Compensation/Distribution. {See Ad<lendum.J In
    consideration of the services described above, WSM shall receive payment and the
    Owner shall receive a distribution calculated as follows:

                   a.       From any and all gross profits generated, whether directly or
                            indirectly, by or from any Services described under Paragraph l(b)
                            above, including, but not limited to. any gross profits paid,
                            generated, received, and/or derived, whether directly or indirectly,
                            at, by and/or from any Location, Location Owner and/or the
                            placement, use and/or operation of any Vending Machine at any
                            Location (the "Gross Profits~), the following sums shall be




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                     deducted and paid in the following order of priority prior to
                     distribution of any funds to the Owner:

                     (I)   A flat fee of TWENTY-PERCENT (20%) of all Gross
                           Profits shall be paid to WSM. from which WSM will pay
                           any sums owing to any agent servicing the Vending
                           Machines (e.g., the snack vending company).

                           In the event the referenced agent servicing the Vending
                           Machines charges more than that 20% flat fee, WSM shall
                           be responsible for the difference from its share of the Net
                           Profits described below.

                           In the event the referenced agent servicing the Vending
                           Machines charges less than that 20% flat fee, WSM may
                           retain the difference as part of its fee for Services.

                     (2)   A flat fee of TWENTY-PERCENT (20%) of all Gross
                           Profits shall be paid to WSM, from which WSM v.ill pay
                           any sums owing to the Location Owners for placing and
                           operating the Vending Machines at said Locations
                           ("Commission").

                           In the event the Location Owners charge more than that
                           20% flat fee for Commission, WSM shall be responsible
                           for the difference from its share of the Net Profits described
                           below unless both Owner and WSM agree in writing to the
                           Commission as negotiated and agreed as a shared expense
                           of the business.

                           In the event the referenced Location Owners charge less
                           than that 20"/4 flat fee, WSM may retain the difference as
                           part of its fee for Services.

                     (3)   The cost of any water filters for the Vending Machines
                           shall be paid to WSM.

                    (4)    Any shared expense mutually agreed to by WSM and
                           Owner, including the cost of insurance obtained by WSM
                           for the Service, and Vending Machines.

                    ( 5)   The net profits remaining from the Gross Profits after
                           payment of the items described in Paragraphs 3(a)(l), (2),
                           (3) and (4) (the "Net Profits") shall be paid and distributed
                           as follows:




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                                (a)     WSM shall receive FIFTY FO.BJ)' SEVIN
                                        PERCENT (§+l 47%) of all such Net Profits; and

                                 (b)    The Owner shall receive FIFTY THREE PERCENT
                                        (5,1()%) of all such Net Profits

                         For purposes of this Agreement, without limiting the foregoing, the
                         Gross Profits described above shall include, but not be limited to,
                         the gross profits derived from any payment, rents, fees, proceeds,
                         revenues or revenue sharing, and/or monies or other consideration
                         transferred or paid in relation to the Services described in
                         Paragraph I{b) aud/or by any Location Owner to the Owner or
                         WSM under any lease or other agreement relating to the Vending
                         Machine, along with any related advertising revenue.

                 b.      The payment of net profits to Owner and WSM described above
                         shall occur on or before the 20th day of each month.

                         WSM is expressly authorized to release and pay the funds as set
                         forth in Paragraph 3(a) above without farther notice or
                         authorization from Owner.

                         In the event Owner receives direct payment of any sum described
                         in Paragraph 3(a) above, including, but not limited to, any Gross
                         Profits, Owner agrees to immediately transfer said funds to WSM.

                 c.      At the time of payment described above, WSM shall provide
                         Owner with a statement showing the gross revenue, costs described
                         above aud net revenue distributed to WSM and Owner.

                         Within THIRTY (30) DAYS of written request, WSM shall
                         provide Owner with any receipts or other written statements in
                         WSM's possession reflecting the above Gross Profits and Net
                         Profits.

                 d.      Notwithstanding anything to the contrary contained herein, nothing
                         in this Agreement or this Section 3 shall be construed to create any
                         right, claim, cause of action, and/or beneficial interest in any third-
                         party, including, but not limited to, any Location Owner and/or
                         agent servicing the Vending Machines.

         4.      Relationship Between the Parties.

                 a       Limited Agency.        WSM shall be the agent for Owner for
                         purposes of taking the actions described in Paragraph I (b) and 1(c)




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                        above and is fully authorized by Owner to negotiate and execute
                        any and all documents, including any leases and related
                        agreements with Location Owners that are necessary to fulfill the
                        duties described herein.

                 b.     No Partnership/Joint Venture.Notwithstanding anything
                        to the contrary contained herein, nothing in this Agreement shall
                        be construed as creating any partnership or joint venture.

                        Owner shall have no ownership interest in WSM and hereby
                        expressly waives and releases any right, title, claim, and/or
                        ownership in or to WSM or the assets or profits thereof.

                 c.     No Employment Agreement. Nothing in this Agreement shall be
                        construed as creating any employer/employee relationship between
                        the Parties.

                 d.     No Fiduciary Relationship. To the fullest extent allowable under
                        the law, Owner fully and unconditionally waives, releases and
                        discharges WSM from any fiduciary duty at law or by statute, that
                        WSM might otherwise owe to Owner.

                 d.     Indemnification, Defense and Hold Harmless.          Owner
                        hereby agrees to fully and unconditionally indemnify, defend and
                        hold WSM.. its officers, directors, shareholders, employees.
                        independent contractors, and/or members harmless from any and
                        all claims, rights, causes of action, lawsuits, proceedings, and/or
                        other liabilities brought or asserted by any third party that arise
                        from or are in any way related to this Agreement and/or the
                        performance by WSM under this Agreement, except in cases of
                        gross negligence or intentional misconduct by WSM.

                 e.     Waiver of Competition by WSM.         Owner agrees and
                        acknowledges that WSM currently provides and will continue
                        providing similar services to those described herein to various
                        other vending machine owners, including, but not limited to, in
                        relation to the same network of Locations and Location Owners
                        with whom WSM will market and potentially negotiate agreements
                        under this Agreement. Owner fully and unconditionally releases
                        any claim, right or cause of action against WSM for engaging in
                        such competitive activities, including, but not limited to. any
                        related claim of breach of fiduciary duties, conflict of interest,
                        breach of contract, and/or interference.

          S.    Bank Deposits.       Owner understands and agrees that WSM provides
    the management and other services relating to vending machines that are the subject




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    matter of this Agreement to other owners. Owner further understands and agrees that
    WSM is not required to maintain separate bank accounts or to otherwise segregate the
    Gross Profits or Net Profits as described in Paragraph 3 above from similar payments
    received under contracts for the benefit of other vending machine owners. WSM will
    track and keep records reflecting the payments received from Location Owners described
    in Paragraph 3 above and will not distribute such funds except in accordance with the
    requirements of said Paragraph 3 above. Owner fully and unconditionally grants WSM
    full power and authority to establish and deposit funds into its bank account, make any
    payments and distributions, sign any documents, and take any further actions WSM
    deems reasonable or necessary in order to carry out the obligations described in this
    Agreement. including, hut not limited to, pursuant to Paragraph 3 above.

           6.     Insurance.    WSM shall add Owner to insurance coverage for the
    Vending Machines naming Owner as an additional insured. If for any reason Owner or
    any lender to Owner requires insurance coverage beyond the insurance purchased by
    WSM, such insurance shall be ohtained by Owner at Owner's expense.

             7.     Operating Reports. WSM shall provide Owner with an annual operating
    report or equivalent statements/supporting documents reflecting annual gross and net
    profits, costs and distributions.

            8.      Tennination. Either Party may terminate this Agreement, upon 30 days
    written notice and failure of the other Party to cure, upon the following occurrences:

                  a.     Material breach by the other Party;

                  b.     The other Party's filing and/or adjudication of bankruptcy.
                         insolvency, liquidation, reorganization, compulsory composition,
                         arrangement, readjustment, or dissolution;

                  c.     Death of the Owner;

                  d.     The Owner is adjudicated by a Court of competent jurisdiction lo
                         be legal incompetent to manage his person or estate or is
                         incapacitated;

                  e.     The other Party makes an assignment for the benefit of creditors;

                  f.     Any third party ohtains against the other Party or the other Party
                         seeks, consents to, or acquiesces in the appointment of a trustee,
                         receiver or liquidator of all or substantially all of its business,
                         property or other assets

           In addition to the above, either Party may terminate this Agreement by




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    providing written notice to the other Party of its intent to terminate at least SIXTY (60)
    DAYS prior to the expiration of the Term of this Agreement, as extended, and as stated in
    Section 12 below.

            Upon termination, WSM is authorized to pay any and all third-party
    obligations and costs. reimburse itself for any out-of-pocket expenses. return any
    Vending Machines to the Owner, wind down any obligations under any lease or other
    agreement with any Location Owners, and otherwise do all things that are reasonable and
    necessary to wind down operations as described under this Agreement. Thereafter, WSM
    is authorized to disburse any remaining net profits as set forth in Paragraph 3 above.

            9.     Noncompete/Nonsolicitation.

                   a.     General N-Oncompete. Owner agrees, during the term of this
    Agreement and for a period of three (3) years after termination of this Agreement,
    regardless of which Party terminated said Agreement and/or the nature or cause, if any.
    for such termination, Owner shall not, directly or indirectly, whether on Owner's o"'n
    behalf and/or on behalf of any other person or entity {e.g., as an agent, officer, director,
    employee, and/or consultant of any such third party), engage in any service and/or
    support the development, manufacture, marketing, and/or sale of any product that
    competes with or is intended to compete with any service or product offered, sold or
    otherwise provided by WSM (or is intended to be offered, sold or otherwise provided by
    WSM in the future), including. but not limited to, the management and services described
    in Paragraph I above, within the following geographical area (the state(s) in which the
    Vending Machines are located if left blank): _ _ _ _ _ _ _ __

            This Paragraph and Section shall survive termination of this Agreement.

                   b.     Noncompete Relating to Locations. In addition to the foregoing.
    Owner agrees to, at any time after the Termination of this Agreement regardless of which
    Party terminated said Agreement and/or the nature or cause, if any, for such termination,
    Owner shall not, directly or indirectly, whether on Owner's own behalf and/or on behalf
    of any other person or entity (e.g., as an agent, officer, director, employee, and/or
    consultant of any such third party), place, manage, operate, maintain, use, and/or derive
    any profit from any vending machine (including the Vending Machines identified herein)
    at any Location or with any Location Owner, as defined in Paragraph I above.


            It is specifically agreed that, for purposes of this Paragraph, WSM owns all rights
     in and to any lease or related agreements entered into with the Location Owners and with
     respect to operation of the Vending Machines at any Location and that Owner may not
     compete in any way with and/or interfere or impair the rights of WSM in such leases or
     related agreements.




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             Owner agrees that, in the event it violates this Paragraph, in addition to any
    damages available to WSM at law or in equity, to account for and disgorge and pay to
    WSM any and all Gross Profits as defined in Paragraph 3 above and/or any other similar
    profits, payments, proceeds, and monies derived, directly or indirectly, from the operation
    of the Vending Machines at any Location or from Services received in relation to said
    Vending Machines and/or Locations.

           This Paragraph and Section shall survive tennination of this Agreement.

                     c.     Nonsolicitation.       During the term of this Agreement and after
    the termination of this Agreement, and regardless of which Party tenninated said
    Agreement and/or the nature or cause, if any, for such termination, OV1ner shall not,
    directly or indirectly, whether on Owner's own behalf and/or on behalf of any other
    person or entity (e.g., as an agent, officer, director, employee, and/or consultant of any
    such third party), (a) use or access WSM's past or present Location Owner, client and/or
    customer lists and contact information in any way in Owner's business activities, unless
    expressly consented to in writing by WSM; (b) solicit, contact, communicate with, and/or
    advertise to any Location Owners and/or WSM's past or present clients and/or customers;
    (c) interfere in any way with WSM' s past, present or future business relationships and/or
    expectancy, including, but not limited to, with respect to any Location Owners and/or
    WSM' s past or present clients and/or customers, marketing and/or advertising activities,
    accounts payable, accounts receivable, pending sales, management agreements and/or
    services, and/or other aspects of WSM's business and/or operations; (d) engage in any
    conduct that violates the Uniform Trade Secrets Act (RCW 19.108.010, et seq.) with
    respect to WSM and/or the Location Owners; and/or (e) engage in any commercial
    defamation or disparagement of WSM or its principals, agents and/or employees,
    including to the Location Owners and/or WSM's clients and/or customers.

           Owner agrees that, in the event it violates this Paragraph, in addition to any
    damages available to WSM at law or in equity, to account for and disgorge and pay to
    WSM any and all profits, payments, proceeds, and monies received from any such
    Location Owner.

           This Paragraph and Section shall survive tennination of this Agreement.

                   c.     Injunction.      Owner acknowledges and agrees that a breach of
    this Agreement, including, but not limited to, any violation of the Noncompete and/or
    Nonsolicitation Agreements set forth above, will result in immediate and irreparable
    harm to WSM. Owner further acknowledges and agrees that money damages may be
    inadequate for such violations of this Agreement and consents to the entry of a temporary
    and permanent injunction or similar equitable relief restricting any violation of this
    Agreement upon default. Owner consents to entry of such an order without requiring
    WSM to post any bond or other security, or, if any applicable Statute, Rule or Court
    requires such bond, Owner agrees such bond shall be in the amount of not more than




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     $ l 00.00.
              Owner further acknowledges such an order is available in addition to any
     damages or other relief to which WSM is entitled by law or in equity.

             This Paragraph and Section shall survive termination of this Agreement.

             I 0.    Intellectual Prnperty. Owner agrees that any and all intellectual property
    rights, including, but not limited to, any and all right, title, claim, and/or interest in or to
    any and all patents, copyrights, trademarks, trade names, derivative works, moral rights,
    trade secrets, contract and licensing rights, claims and causes of action, proprietary rights
    thereto (the •'lntellectual Property Rights"), with respect to WSM's business, operations,
    proprietary information, business model, methods and collection protocols relating to
    credit cards and other electronic payments, trade dress, trade secrets, designs, methods,
    formulas, client lists, technical specifications, including, but not limited to, its vending
    machines and business operations shall remain the sole and exclusive property of WS M
    and Owner unconditionally releases and waives any right, title, claim, and/or interest in
    or to said Intellectual Property Rights. Owner agrees to promptly return to WSM any
    such documents, drawings, lists, designs, specifications, and/or other materials relating to
    such Intellectual Property Rights and to hold the same in strict confidence and not
    disclose them to any third party without the express written consent of WSM.

             This Paragraph and Section shall survive termination of this Agreement.

             I I.   Ownership of Lease Rights, Locations and Contracts with Location
    Owners.         Notwithstanding anything to the contrary in this Agreement, WSM holds
    any and all right, title, claim and/or interest in or relating to: (a) any lease or other
    agreement entered into between any Location Owners and WSM and/or Owner relating
    to the placement, use and operation of the Vending Machines; and (b) the Locations.
    Owner expressly releases, waives and disavows any such right, title, claim and/or interest
    in or to said lease, other agreement or Locations, excepting the right to payment
    specifically prescribed under Paragraph 3 above.

             This Paragraph and Section shall survive termination of this Agreement.




                    a.




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            12.    Voluntary Agreement. The Parties agree and acknowledge that
     they have read this Agreement, fully understand it and have voluntarily executed its
     tenns.

            13.    Integration. This Agreement contains the entire understanding of the
    Parties and supersedes any prior understandings and agreements between them with
    respect to the subject matter hereof. There are no other representations, agreements,
    arrangements or understandings, oral or written, between or among the parties hereto, or
    any of them, relating to tbe subject matter of this Agreement. No amendment,
    modification, tennination, waiver or supplement of any provision of this Agreement shall
    be a valid or effective unless made in writing and executed by the Parties hereto
    subsequent to the date of this Agreement.

            14.     Equal Opportunity in Drafting.          It is understood and agreed that
    Agreement has been executed knowingly and voluntarily and the Parties equally
    participated in, or had an opportunity to participate in, the drafting of this Agreement. No
    ambiguity shall be construed against any Party based upon a claim that that Party drafted
    tbe ambiguous language.

            15.     Authority. The Parties each represent and warrant that they have full
    power and actual authority to enter into this Agreement and to carry out all actions
    required of them by this Agreement. All persons executing this Agreement represent and
    warrant that they have full power and authority to bind the entity on whose behalf they
    are signing, including any marital communities.

            I 6.    Binding Effect. This Agreement shall bind and inure to the benefit of the
    Parties hereto and their respective heirs, legatees, representatives, employees, attorneys,
    receivers, trustees, transferees, subsidiaries, members, shareholders, parents, affiliates.
    agents, successors and/or assigns, and the marital communities of the Parties.

            17.    Attorney's Fees/Governing Law. If eilher Party institutes suit against the
    other concerning the Agreement, the prevailing Party shall be entitled to an av11ard of its
    reasonable attorney's fees and other litigation expenses and costs.

           The substantive laws of tbe State of Washington shall govern this Agreement for
    all purposes, including interpretation and enforcement. The Parties agree the venue and
    jurisdiction for any lawsuit commenced to enforce the tenns of this Agreement or
    otherwise arising out of this Agreement shall be vested the Snohomish County
    (Washington) Superior Court.

           18.     Counterparts. This Agreement may be executed in any number of
    identical counterparts, notwithstanding that all Parties have not signed the same
    counterpart, with the same effect as if all Parties had signed the same document.

           19.    Time is of the Essence.        Time is of the essence to this Agreement.




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             20.    Further Documents anq Addendums. Both Parties agree to execute all
     documents and to take any further actions reasonable and necessary to fulfill their
     obligations provided hereunder.

                 21.Seyerabiljty. In the event a Court holds one or more provisions of this
     Agreement unenforceable, illegal, invalid, or void, such determination shall not affect the
     other provisions of this Agreement or render this Agreement in any way invalid,
     unenforceable or void. If any provision contained herein shall for any reason be held by
     any Court to be excessively broad as to duration, geographic scope, activity, or subject, it
     shall be constructed by limiting or reducing it such that the Court deems it reasonable,
     and shall not have the effect of rendering that provision or the entire Agreement
     otherwise unenforceable.

             22.     Counterparts/Signature.      This Agreement may be signed as one or
     more counterpans. The Panies may transmit their signatures via email, facsimile or other
     electronic transmittal and it will have the same force and effect as if they exchanged
     original signatures.

             23.    Notice.        All notices provided hereunder shall be sent to the Parties
     at the following addresses, subject to change by either Party upon written notice to the
     other:

                 WSM:
                              '27:SZ.. 6.,-c,.,__c' A~..,.-,e                                S'vltc.       i2.Z...
                               EY:4'1kH I, w "' :I irz o 1



                 l ~e-n,
                    · ti-:I:m_u_c_
                 EXECUTED ON THE DATES SET FORTH BELOW:

     Water Station Management, LLC




          --J~'..Ltr:/L..J'.~~~=----'r,/~o
    By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                    \Ile--..--. I l ™   2.0 I "j
                                                                                                   Date
    Its: ----'r,11--'--',,..,_..,_-.._<>----'--'1tJ(.----"'-_,_Mf?'-l=:..::..:.~=----




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     By:                                             Date   /f /?'Jf'
     Its:




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                                        ACKNOWLEDGEMENT




   A notary public or other officer completing this certificate
   verifies only the identity of the Individual who signed the
   document to which this certificate Is attached, and not the
   truthfulness, accuracy, or validity of that document.




 State of californla
 County of Contra Costa

 On   Nivtrnkw 13·,t d' b l r                      before me,        J. Christie. Notary Public
                                                                  (insert name and title of the officer)

 personally appeared._ _ _ _ _R__.:.;f>"-'"'-'-"-'A...._l'-=-t\,.__,J-=.;;."'-.;_H.-\.l_ac-_"::>'---------



 who proved to me on the basis of satisfactory evidence to be the ~~ whose nam<s@'are
 subscribed to the within instrument and acknowle,9&~ to me tha~e/they executed the same in
 8Jher/their authorized capacity(iMr,and that ~er/their signatures!sron the instrument the
 persao(sj,-or the entity upon behalf of which the persolltStacted, executed the instrument.

 I certify under PENALTY OF PERJURY under the laws of the State of california that the foregoing
 paragraph is true and correct.

                                                                                              J CHRISTIE
 WITNESS my hand and official seal.                                                     Notary Pubbt • California
                                                                           I              Contra Co111 Coultly
                                                                                        Comn11ss100 # 2160375
                                                                               •     My Comm. E tts Au 17, 2020




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                                                ADDEN[>UM
                                                   BETVIEEN
                       water Station Manasi-nt LLC & James Gr:iup Intl, LLC (JGI) a Nevada LLC


TERMS
Thie addendum lhall modify Section 1. •· and Section 3 of tte. /\g•!8fflllnt for 24 months.
$4,600,000 to WSM collllleralized by 583 machlnas with aerial nun- bers.
WSM lhall have the authority le sell indlvlduel machines, by serial 11,1mber, lo ollMtr parties but 8hall replace each
machine told with a new machine, by eerial number. immediE i~ ~.
ROI of 27.9% peyabkl 30days in l11T1181110!1 a monthly basis \:.,1~ 625 per month).

No payment due during the 30 day build period.

Tmaline-
lf Iha lm.'llllllletd ii made, for example, November 10'1, 2019 :'. , ·:. ild time 1$ the month of November.

A payment of $104,62511 due at the end of December (30 diys n ,IITftalS) and the end of each month lheraallar. If net
revenue ii lel8 lhan the payment. WSM 8hall be responsible ro, tll9 dlffel1!llClt. If net revenue is mont lhan Ille ~
WSM lhall lllCeive Iha dlll'erence,. This arrangemem Will stay ;r .el' !Cl a minimum of two years (24 months) or a sholtlt
period by mutual agreement At the end of 24 months, also b:· 1 :tual agreement, you (WSM)

    1. Rellnance and mum t11eqinal fundt to JGI.
    2. Or agree to keep Ulil ana11g11m11..- and/or modify ii.
    3. Or lhil agNMlllllllt nMll1II to the original terms of a s:,.4 7 r=. BITOA spilt of net revenues as dltfined by Section
       1.a.and Section 3 of Ille Ag.-nent.
Any addlliDnal monies JGI investB will be governed separate!,.



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                                                                                      State of WasblAglon
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                                              ACKNOWLEDGEMENT




   A notary public or other officer completing this certificate
   verifies only the identity of the individual who signed the
   document to which this certificate is attached, and not the
   truthfulness, accuracy, or validity of that document.




 State of California
 County of Contra Costa

 On   l'J OV .t rn fati,       I:).,{   J-t, It)            before me, -~J.,_. ..,Ch..,,r...,is.,.tie.,,.~N,,.ota.=wrvwP..,u,,,b,,.,lic,___ __
                                                                         (insert name and title of the officer)

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 personally appeared _ _ _ _ _....




 who proved to me on the basis of satisfactory evidence to be the person'5) whose nam~are
 P,!.~crlbed to the within instrument and acknowled~ to me th~e?,he/they executed the same in
 ~er/their authorized capacity(ifilit, and that b~r/their signaturesOO on the instrument the
 perso$t;" or the entity upon behalf of which the person(.s,)-acted, executed the instrument.

 I certify under PENALTY Of PERJURY under the laws of the State of California that the foregoing
 paragraph is true and correct.

                                                                                                                        J CHRISTI£
                                                                                                                 Notary PubllC. CalltOfftta
                                                                                               ~                    Cont_ra C01;ta County     f
                                                                                                                  Commission I 2160375        ....
                                                                                                               My Comm. bl)1fl!S Aug 17, 2020




 Attachto: __,/\._.·-c,...d...,,.d--t'"'-'Vl~d...;..w,..:..__:.v1A_.._ _ _ _ _ _ _ __




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                                       Aclcnowledgment of Individual

STATE OF WASHINGTON

COUNTYOF~

On this day personally appeared berore me     'J?«CU"I  &'W:       ~             ,  to me known to be the
individual(s) described in and who executed the within and foregoininstrumcnt, and acknowledged
that helshe/thcy signed the same as his/her/their free and voluntary act and deed, for the uses and
purposes therein mentioned.

Given under my hand and seal of office this     &lb day of ~                      ,20~



Notary Public residing at   F3t,a:/t, WA-
               'lft./eriia jolu,Jlon
Printed Name: __
My Commission Expires:




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24-01421-FPC11   Doc 202   Filed 10/21/24   Entered 10/21/24 11:15:06   Pg 24 of 61
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                                      EXHIBIT B
                               DECLARATION OF PAUL BARRERA
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      APPLICATION FOR RELIEF FROM STAY                            NORTH CITY LAW, PC
                                                           17713 Fifteenth Avenue NE, Suite 101
                                                                Shoreline, WA 98155-3839
                                                                   Phone: 206.413.7288
      24-01421-FPC11 (9)                                            Fax: 206.367.0120




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 J. Seth Moore
 State Bar No. 24027522
 semoore@swlaw.com
 Zachary A. Cooper
 State Bar No. 24137881
 zcooper@swlaw.com
 SNELL & WILMER L.L.P.
 2501 North Harwood Street, Suite 1850
 Dallas, Texas 75201
 Telephone: 214-305-7301
 Facsimile: 214-305-7351

Attorneys for TurningPointe, LLC, d/b/a Turning Point Strategic Advisors


                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION



In re:                                          §    Case No. 24-33919
                                                §
REFRESHING USA, LLC                             §    Chapter 11
                                                §
                    Debtor.                     §
                                                §
 DECLARATION OF NICK HOWE IN SUPPORT OF TURNING POINT STRATEGIC
  ADVISORS’ MOTION TO CONFIRM ERIC CAMM’S STATUS AS MANAGER OF
  REFRESHING USA OR, ALTERNATIVELY, TO EXCUSE TURNOVER PENDING
                    DISMISSAL OR OTHER RELIEF

         I, Nick Howe, declare as follows:

         1.     I am a Principal and the Data Analytics Lead for Turning Point Strategic Advisors

(“Receiver”), the general receiver over Creative Technologies, L.L.C., Refreshing USA LLC, and

Water Station Management LLC (collectively, “Debtor Entities”), appointed by the Superior

Court of King County, Washington (“Washington Court”).

         2.     I make this declaration in support of Receiver’s Motion to Confirm Eric Camm’s

Status as Manager for Refreshing USA or, Alternatively, to Excuse Turnover Pending Dismissal




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or Other Relief [Dkt. __ ] (“Motion”). Capitalized terms not otherwise defined herein shall have

the meanings given to them in the Motion. Except where indicated, the facts stated herein are based

upon my own personal knowledge, and if called upon to testify, I could and would competently

testify thereto.

        3.         I am over the age of 18, and I am competent to testify. This declaration is based on

my personal knowledge and my review of documents produced by Ryan Wear, Debtor’s Manager

and principal actor, records provided by third parties as described below, and discussions with our

court-approved brokers and former employees of Debtor and its affiliates. Exhibit A, attached

hereto, is a true and correct copy of my curriculum vitae.

        4.         Together with Eric Camm and our legal team, I have spent the last four months

gathering information and records regarding assets and the finances of the Debtor Entities and their

affiliates. Early in our receiverships, and at our insistence, Mr. Wear granted us access to the

QuickBooks files for Creative Technologies LLC and one other entity. I performed a detailed

analysis of those files and related records. The effort to gather more information, however, has

been a slog. Mr. Wear and Mr. Briggs continually resisted our efforts to gather information,

including a refusal to grant us access to the QuickBooks files for the other Debtor Entities and

some two-dozen other related entities. Indeed, we were forced to move for contempt sanctions

before they started providing many of the records we had long sought.

        5.         On July 29, 2024, in response to the Washington Court’s order on our discovery

motion, we received bank statements for Refreshing USA, the Debtor Entities, and certain

affiliates for the period between August 2022 and June 2024. I have spent roughly the last two

weeks analyzing those statements.

        6.         On July 30, 2024, we had a follow up conversation with Mr. Wear in which we

asked him about the accounting and finances of the Debtor Entities.



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         7.        Based on the foregoing documents and interviews, we have conducted a financial

review of all three entities. Exhibit B, attached hereto, is a presentation that I prepared summarizing

our review and findings. As noted in this report, I found it concerning that almost all revenue

recorded in QuickBooks for the relevant period was in the form of six “Journal Entry” line items.

A “Journal Entry” is a manually entered number that does not tie to a specific transaction. While

Journal entries are not unusual, they should be supported with documentation such as receipts,

invoices, purchase orders, correspondence, or similar documents. Based on my experience and

understanding of the business model here, I would not expect to see the vast majority of Creative’s

revenue comprised of undocumented journal entries. Manufacturing and service companies (which

Creative purports to be) typically invoice their customers for goods sold or services provided.

Here, we found limited evidence of this type of activity in Creative’s financial records. We have

never been given access to the QuickBooks files for the other Debtor Entities.

         8.        We have repeatedly asked Mr. Wear and Mr. Briggs for documentation or at least

some explanation to support the Journal Entries for Creative. Exhibit C, attached hereto, contains

true and correct copies of e-mails in which I asked Mr. Wear and Mr. Briggs to answer questions

about specific line items and entries in QuickBooks. To date, neither one of them has answered

these questions despite repeated requests to do so.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 5th day of September 2024 at Seattle, Washington.



                                                                       _/s/ Nick Howe__________
                                                                       NICK HOWE

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                           Exhibit B




                                                                    Howe Decl. Ex.
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                                                                                  Entered 10/21/24 11:15:06
                 Creative Technologies and
                 Related Entities – Financial
                 Transaction Review




                                                                                  Filed 10/21/24
                 August 9, 2024




                                                                                  Doc 202
                                                                                  24-01421-FPC11
                                                Nick Howe
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                                 Creative QuickBooks
                                 Findings




                                                                                    Entered 10/21/24 11:15:06
                                   Bank Account Summary,
                                   (July 29th 2024 Data Dump)
                 Sources             Creative Technologies,
                                     Acct Detail#6352
                 Reviewed and




                                                                                    Filed 10/21/24
                                   Refreshing USA, Acct
                                   Detail #7830
                 Findings         Water Station




                                                                                    Doc 202
                                  Management, Acct Detail
                                  #5591




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Howe Decl. Ex.




                                Key Findings
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                               Creative Technologies LLC, QuickBooks Findings




                                                                                                      Entered 10/21/24 11:15:06
          • Per Jeremy Briggs on 5/30/2024 the Creative
            QuickBooks file has not been updated for 2024
            transactions and was not reconciled.
          • We chose to analyze the 12 month period ending
            9/30/2023 as this data was also referenced in the
            Marcum Quality of Earnings Report.
          • TTM sales as of 9/30/2023 was $108.7M
             • Sales were 99.97% comprised from 6 journal
                entries made to the QuickBooks records.
             • We have repeatedly asked for explanation and
                support for these journal entries from Ryan




                                                                                                      Filed 10/21/24
                Wear and his staff to no avail.
             • Without support for these entries we are left
                to assume they are incorrect and potentially
                fraudulent in nature and do not reflect
                revenue generating activity performed by
                Creative Technologies LLC.
             • This assumption is supported by examination




                                                                                                      Doc 202
                of Creative’s bank account statements, which
                do not show nearly enough in transaction
                volume or deposits to support this revenue
                (only $35 million in deposits into Creative
                account in this same timeframe, of which over




                                                                                                      24-01421-FPC11
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                $17 million came from affiliated entities.
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                                Creative Technologies LLC, QuickBooks Findings




                                                                                                                                                      Entered 10/21/24 11:15:06
         • We compared the QuickBooks Income Statement with the Income Statement presented in the
           Marcum Quality of Earnings Report.
            • We found large discrepancies between the two data sources;                                           Quickbooks
         • These discrepancies indicate an environment lacking any internal controls over financial reporting at
           a minimum and are indicators of outright fraud.
            • No explanation we are aware of as to how they can be that much different between the financial
                 reporting software and the Marcum Report;
                                                                                    Marcum Report, p. 60




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                                   Creative Technologies LLC, QuickBooks Findings




                                                                                                                               Entered 10/21/24 11:15:06
             • The Marcum report describes the business activities of Creative
                                                                                         Marcum Report
               Technologies as mainly focused on purchasing water stations from
               third parties; manufacturing them and installing them at host
               locations.
             • In that scenario we would expect the majority of the cash flowing
               into the business used to support manufacturing and purchasing
                 activities (IE - $ flowing to other manufacturers for the purchase of
                 machines and/or $ flowing to vendors for materials necessary to
               manufacture in house).
             • We found the opposite to be the case when we examined the
               operating bank account for Creative Technologies. Over our sample
               period of August 2022-June 2024 91% of the cash received into the




                                                                                                                               Filed 10/21/24
               operating account went to pay 3rd Party investors or was funneled to
               sister entities of Creative. Only $4.4M went towards payroll and
               payments to vendors.




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                                                   Bank Account Summary
                                                Source - 7/29/2024 Data Dump




                                                                                                     Entered 10/21/24 11:15:06
          • Statements from 46 unique Bank of America and
            Chase accounts for Creative and its sister entities
            were provided on 7/29/2024 for the periods
            August 2022 through June 2024
          • The statements show a consistent pattern of
            money flowing in from various sources then being
            disbursed shortly thereafter (sweeping) leaving a
            available ledger balance near zero at the end of




                                                                                                     Filed 10/21/24
            each month (there is no build up of funds
            anywhere in the statements provided);
          • The account activity we see in these statements
            does not align with expectations for a company
                 which purported to have a combined EBITDA of
                 $36.5M in the TTM ended 9/30/2023 *.




                                                                                                     Doc 202
          *Source “Marcum Quality of Earnings Report”




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                                     Creative Technologies, Acct Detail #6352
                                              August 2022-June 2024




                                                                                                                                                           Entered 10/21/24 11:15:06
           • Sources and uses of Cash for 8/1/2022-6/30/2024
           • 50.4M in Deposits and 50.4M in Withdrawals
                                     $26.7M Water Station                                               $22M 3rd Party Investors
                                           Entities
                                                                                                        $4.4M Creative Payroll and




                                                                                                                                                           Filed 10/21/24
                                     $6.5M Refreshing and
                                     other affiliated Entities                                                  Vendors
                                     $17.2M 3rd Party Entities                                           $24M Affiliated Entities
                                                                 Creative Technologies LLC Acct #6352




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                                       Creative Technologies, Acct Detail #6352
                                                August 2022-June 2024




                                                                                                                                                                   Entered 10/21/24 11:15:06
             • Affiliated Company Transfers Detail
                                                     $26.7M Water Station                                         $22M 3rd Party Investors
                                                           Entities
                                                     $6.5M Refreshing and                                          $4.4M Creative Payroll
                                                     other affiliated Entities                                         and Vendors
                                                         $17.2M 3rd Party
                                                             Entities                                             $24M Affiliated Entities
                                                                                 Creative Technologies LLC Acct
                                                                                             #6352




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                                          Refreshing USA, Acct Detail #7830
                                               August 2022-June 2024




                                                                                                                                                  Entered 10/21/24 11:15:06
                                                                                               $61.4M Affiliated Entities
          • Sources and uses of Cash for 8/1/2022-6/30/2024
                                                                                                   $10.1M Vendors
          • 97.4M in Deposits and 97.4M in Withdrawals
                                                                                               $9.3M 3rd Party Funding
                                        $74M Affiliated Entities




                                                                                                                                                  Filed 10/21/24
                                                                                                $8.4M Undetermined
                                          $10.3M C2FO Loan
                                                                                                    $5.2M Payroll
                                        $2.0M Undetermined
                                                                   Refreshing USA Acct #7830




                                                                                                                                                  Doc 202
                                                                                                2.2M Mainstreet Loan
                                       $6.8M 3rd Party Investors




                                                                                                                                                  24-01421-FPC11
                                                                                                  $475k C2FO Loan
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                                       $4.3M Vending Revenue
                                                                                                  $114k Tyler Sadek                                                                                8
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      Refreshing USA, Acct Detail #7830
                                              • Affiliated Company Transfers Detail
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                                Water Station Management, Acct Detail #5591
                                           August 2022-June 2024




                                                                                                                                                     Entered 10/21/24 11:15:06
                                                                                                   $23.4M REVL Securities
          • Sources and uses of Cash for 8/1/2022-6/30/2024
          • 129.8M in Deposits and 129.8M in Withdrawals
                                                                                                  $17.8M 3rd Party Investors
                                     $57.2M Affiliated Entities
                                                                                                  $12.7M WSM Vendors and




                                                                                                                                                     Filed 10/21/24
                                                                                                          Loans
                                     $71.2M Bond Funding (US
                                             Bank)
                                                                                                     $7.3M Legal Order
                                                                                                         Payments
                                        $581k Tyler Sadek
                                                                  Water Station Management Acct




                                                                                                                                                     Doc 202
                                                                                                  $66.8M Affiliated Entities
                                                                               #5591
                                                                                                     $1.5M Tyler Sadek
                                     $800k 3rd Party Investors




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                                                                                                    $316k Jordan Chirico
                                                                                                                                                                    10
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                                    Water Station Management, Acct Detail #5591
                                               August 2022-June 2024




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                 • Affiliated Company Transfers Detail




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                 Key Findings




                                                                                                                                                                  Entered 10/21/24 11:15:06
                    Financial Statements:
                       The lack of support and general poor record keeping of the QuickBooks for Creative Technologies LLC make
                         relying on the financial statements risky if not impossible.
                       The discrepancies between the QuickBooks Financials and the Marcum Quality of Earnings Report indicate
                         potential fraud with intent to mislead investors about the health of the business.




                                                                                                                                                                  Filed 10/21/24
                           Payments amounting to $572,500 were made to BF Borgers (a now defunct CPA firm) in 2022 and 2023
                               from the 3 bank accounts detailed in this report. This firm was accused by the SEC of fraud in its audit
                               processes.
                                  https://www.sec.gov/newsroom/press-releases/2024-51
                    Bank Account Review
                       The consistent inflows and outflows in the account statements show a pattern of new money being used to pay
                         previous debts. This is consistent with the definition of a Ponzi scheme.




                                                                                                                                                                  Doc 202
                       The seemingly random nature of the transfers between various entities are not consistent with what would be
                         expected for a business operating in the vending space.
                        Significant amounts of outside money from individual 3rd party investors and institutional funds appears to have
                         been needed to keep up the appearance of a profitable consolidated business.




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                                       EXHIBIT C
                                DECLARATION OF PAUL BARRERA
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      APPLICATION FOR RELIEF FROM STAY                             NORTH CITY LAW, PC
                                                            17713 Fifteenth Avenue NE, Suite 101
                                                                 Shoreline, WA 98155-3839
                                                                    Phone: 206.413.7288
      24-01421-FPC11 (10)                                            Fax: 206.367.0120




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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION



In re:                                          §    Case No. 24-33919
                                                §
REFRESHING USA, LLC                             §    Chapter 11
                                                §
                    Debtor.                     §
                                                §
        DECLARATION OF ERIC CAMM IN SUPPORT OF TURNING POINT
   STRATEGIC ADVISORS’ MOTION TO CONFIRM ERIC CAMM’S STATUS AS
     MANAGER OF REFRESHING USA OR, ALTERNATIVELY, TO EXCUSE
          TURNOVER PENDING DISMISSAL OR OTHER RELIEF

         I, Eric Camm, declare as follows:

         1.     I am a Principal and the Director of Capital Advisory for Turning Point Strategic

Advisors (“Receiver”), the general receiver over Creative Technologies, L.L.C., Refreshing USA

LLC, and Water Station Management LLC (collectively, “Debtor Entities”), appointed by the

Superior Court of King County, Washington (“Washington Court”).

         2.     I make this declaration in support of Receiver’s Motion to Confirm Eric Camm’s

Status as Manager for Refreshing USA or, Alternatively, to Excuse Turnover Pending Dismissal




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or Other Relief [Dkt. __ ] (“Motion”). Capitalized terms not otherwise defined herein shall have

the meanings given to them in the Motion. Except where indicated, the facts stated herein are based

upon my own personal knowledge, and if called upon to testify, I could and would competently

testify thereto.

        3.         I am over the age of 18, and I am competent to testify. This declaration is based on

my personal knowledge and my review of documents produced by Ryan Wear and Jeremy Briggs,

records provided by third parties as described below, and discussions with former employees of

Debtor Entities and their affiliates. At the outset of the receivership described above, Mr. Wear

was the Manager of each of the Debtor Entities, and Mr. Briggs was the corporate controller for

each of the Debtor Entities. The two of them have continually acted in concert as described below.

        4.         Exhibit A, attached hereto, are true and correct copies of relevant pages from the

Operating Agreements for Refreshing USA LLC and Water Station Management LLC and the

relevant amendment to the Operating Agreement for Creative. These documents are more than 20

pages each, so I have submitted only the relevant pages in the interests of brevity. Complete copies

are available upon request.

        5.         Exhibit B, attached hereto, are true and correct copies of the home webpage for

Creative, which does business as Water Station Technology, and the “Our Services” webpage for

Refreshing.

        6.         Mr. Wear has told us that the water machines and vending machines sold, owned,

or serviced by the Debtor Entities are tracked in a single database platform, on which there is no

data to tie machines to investors or lenders. We learned from Richard Brennan that this database

is called the Vending Management System (“VMS”), and it was created and is maintained by

Parlevel Systems. Mr. Brennan is a former employee of the Debtor Entities.




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       7.       Mr. Wear has never given us access to it despite repeated and specific requests by

me and our attorneys. We had a subpoena to Parlevel in process when this case was filed. Rather

than give us access to VMS, Mr. Wear produced three Excel spreadsheet with thousands of line

items purporting to list water machines and vending machines. To limit the amount of paper being

submitted, below the topline numbers in the spreadsheets:


            Excel File Name                         Type of Asset           Count
            Machine List                            Water Machines           4,889
            Machine List – WSM Parlevel with Cost   Water Machines           5,134
            Fixed Assets CT                         Vending Machines         8,813

Native electronic files and hard copies of these spreadsheets are available on request, and I hereby

make an offer of proof to the extent necessary. Consistent with Mr. Wear’s description of the

database, the spreadsheets contain no information tying any individual machine to any individual

owner or lender. Moreover, the spreadsheet does not include complete list of serial numbers.

       8.       Mr. Wear has also told us that machine-generated revenue first flows to the

payment processor, Cantaloupe Inc., and then into bank accounts in the name of Refreshing and

its subsidiaries. From there, it appears from our review of bank statements that Mr. Wear and Mr.

Briggs move funds to other entities in random fashion (or, if there is a specific purpose for the

transfer, it is not documented in any manner).

       9.       Recently, we received an Excel spreadsheet from Cantaloupe identifying the

deposit accounts to which they transfer funds generated by machines associated with Mr. Wear or

Mr. Briggs. Exhibit C, attached hereto, is a version of that spreadsheet modified to consolidate

accounts across tabs and to redact individual account numbers to protect privacy. Native electronic

files and hard copies of these spreadsheets are available on request, and I hereby make an offer of

proof to the extent necessary.




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       10.     Exhibit D, attached hereto, is a true and correct copy of bank statements produced

by Mr. Wear. In light of the miniscule balance in Creative’s account in May, at the outset of the

receivership, I asked Mr. Wear how he expected to make payroll that month. He told me that he

would fund payroll from a different source. Our repeated requests to identify the source of funds

have gone ignored to this day.

       11.     Soon after our appointment, we began hearing from stakeholders that Mr. Wear has

been marketing the assets of the Debtor Entities in a re-finance or re-capitalization scheme. After

investigation, we learned that well before this receivership Mr. Wear engaged an investment

banking firm in Los Angeles called AGRA Capital Advisors to orchestrate a re-capitalization.

       12.     Receiver has always been open to a re-capitalization if it is grounded in real data

and results in a better outcome for creditors than a liquidation. To that end, our attorneys and I

contacted AGRA to request information relating to the re-capitalization effort.

       13.     Despite repeated requests to be included in their purported recapitalization efforts,

neither AGRA nor Mr. Wear has provided Receiver with complete and reliable data supporting

the size and scope of re-capitalization that would be required to satisfy creditors here. Indeed, we

were recently told by Bryce Forsberg, CEO of Refreshing, that they intend to exclude Receiver

until their deal is on the verge of closing because they saw the receivership as an inconvenient

“last piece of the puzzle.” As such, they have refused even to name the sources of capital for their

purported transaction, nor have they shared any due diligence beyond a draft “Due Diligence

Report” from Marcum LLC. As detailed in my colleague’s declaration, there appear to be material

misstatements in that report. Because AGRA and Mr. Wear would not share the data underling the

report, we were forced to issue a third-party subpoena to Marcum LLC. That subpoena was in

process when the involuntary petition commencing this case was filed.




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       14.     On August 23, 2024, the Washington Court also appointed me as Manager of the

Debtor Entities pursuant to the Washington Consumer Protection Act and the Washington Court’s

equitable powers in receivership. Mr. Wear was the Manager of the Debtor Entities before that. At

the time, Mr. Briggs was the corporate controller for each of the Debtor Entities. As detailed above

and in the Motion, Mr. Wear and Mr. Briggs have acted in concert with each other throughout the

relevant period.

       15.     After my appointment as Manager, I reached out to Mr. Wear and Mr. Briggs to set

up a meeting in which we would discuss operational issues. They ignored my invitation to meet in

person, but we did speak to Mr. Wear on the phone. On Tuesday, August 27, 2024, my colleague,

Nick Howe, and I drove up to the Debtor Entities’ headquarters office in Everett, Washington, to

discuss operational issues in person. During this meeting, Mr. Briggs confirmed again that he had

not maintained the books for any of the Debtor Entities throughout calendar year 2024 (i.e., none

of the QuickBooks files for any entities were up to date past December of 2023). He also confirmed

that he could not allocate cash flow between the Debtor Entities and their affiliates.

       16.     My most pressing concern is payroll. We learned in the meeting that the Debtor

Entities had not made payroll in at least three weeks. Mr. Briggs told us that an employee named

“Danielle” handled payroll through Paylocity. I asked him to introduce me to Danielle. He told me

she was in a meeting but that he would get the payroll liability report from her when she was

available. He then went into his office and locked the door behind him. After about an hour of

waiting, Mr. Howe and I knocked on the door and asked when Danielle would be out of her

meeting and able to provide the payroll liability. Mr. Briggs told me that he had forgot to tell us

that Danielle had left for the day to attend a family matter. I was shocked. Indeed, Mr. Briggs and

Mr. Wear never connected me with Danielle or provided any information on payroll. I ultimately

had to get her information (email/phone) from Mr. Forsberg.



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         17.       Beyond all of the obfuscation that predated my appointment as Manager of the

Debtor Entities, I found Mr. Briggs’ and Mr. Wear’s intransigence regarding payroll issues to be

the last straw. As a result of this evasive behavior and the harm it is causing to other employees, I

terminated Mr. Briggs’ and Mr. Wear’s employment. The rank-and-file employees are victims in

this matter and deserve to be paid for their work, especially because they are important to

preserving the assets that do exist. I have since secured the headquarters facility and the files that

I was able to find to try and preserve what assets remain.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 5th day of September, 2024 at Seattle, Washington.



                                                                      _/s/Eric Camm__________
                                                                      ERIC CAMM

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